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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

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UNITED STATES OF AMERICA                      :

       V.                                     :       Criminal No. 1:20-cr-00337-GLR

STEPHEN SNYDER,                               :

               Defendant.                     :

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                           DEFENDANT’S SUPPLEMENT TO
                        JOINT STATUS REPORT AND REQUESTS
                      FOR MOTIONS SCHEDULE AND TRIAL DATE

       Undersigned counsel for Defendant write in further response to the Court’s Order, ECF

No. 9, directing the parties to submit a status report on or before December 15, 2020, to supplement

the Joint Status Report filed by the parties. This Supplement contains Requests by the Defendant

that Counsel for the Government would not agree to include in the Joint Report.

       Counsel for the Defendant request that the Court set a Motions Schedule as follows:

                       Defendant’s Motions to be filed on 1/25/21;

                       Government’s Responses to be filed on 2/15/21;

                       Defendant’s Replies to be filed on 2/25/2021; and

                       Motions Hearing on a date and time convenient to the Court.

       Counsel for Defendant further request that the Court schedule the trial to begin on July 6,

2021, or as soon thereafter as may be practicable.

       Counsel for the Government have objected to the inclusion of these Requests in the Joint

Report on the ground, inter alia, that, “reciprocal discovery needs to precede motions practice.”

See Exhibit “A” hereto, Emails dated 12/14/20. However, Defendant has specifically declined to

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make requests for discovery from the Government under Rule 16 that would trigger any reciprocal

obligation on the part of Defendant to provide discovery. See Exhibit “B,” Letter from Defense

Counsel to Government Counsel, dated 12/7/20, pursuant to Standing Order 2020-01, stating that

Defendant “DOES NOT REQUEST” discovery pursuant to Rule 16(a)(1)(E) or (G).

       Counsel for Defendant also submit that the interests of justice would be served by a motions

schedule that would begin on January 25th, more than a month from now, and would not require a

Response from Government Counsel until February 15th, two months from now.

                                     Respectfully submitted,



                                                    /s/
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                                     Counsel for the Defendant.




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of December, 2020, the Defendant’s

Supplement to Joint Status Report was served on Government counsel via ECF electronic filing.



                                                   /s/
                                     Arnold M. Weiner, Bar No. 01605

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